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  6
      Attorneys for Defendant
  7   Deputy Ryan Hansen
  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10   LAURA SCOTT, in her individual             Case No.: 5:20-cv-02511-JGB-SHK
      capacity and as successor in interest to
 11   RICO ROBLES,                               ANSWER BY DEFENDANT
                                                 DEPUTY RYAN HANSEN TO
 12                Plaintiff,                    PLAINTIFF’S FIRST AMENDED
                                                 COMPLAINT; DEMAND FOR JURY
 13         v.                                   TRIAL
 14   COUNTY OF RIVERSIDE; DEPUTY
      ZABOROWSKI, individually and as
 15   Sheriff's Deputy for the Riverside
      Sheriff's Department; DEPUTY
 16   HANSEN, individually and as
      Sheriff's Deputy for the Riverside         District Judge:   Jesus G. Bernal
 17   Sheriff's Department; and DOES 1-10,       Magistrate Judge: Shashi H.
      inclusive,                                                   Kewalramani
 18                                              Trial Date:       None set
                   Defendants.
 19
 20
 21          Defendant Deputy Ryan Hansen hereby answers plaintiff’s First Amended
 22   Complaint (“FAC”) as follows:
 23          1.    Paragraph No. 1: Admit.
 24          2.    Paragraph No. 2: Admit.
 25          3.    Paragraph No. 3: This paragraph contains no substantive or specific
 26   factual allegations and requires no affirmative admission or denial. If an
 27   affirmative response is required, this answering defendant lacks sufficient
 28   information or knowledge to form a belief about the truth of these allegations.
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  1         4.     Paragraph No. 4: Admit the County is a public entity organized and
  2   existing under the laws of the State of California and wholly located in the state of
  3   California. This answering defendant lacks sufficient information or knowledge to
  4   form a belief about the truth of the remaining allegations.
  5         5.     Paragraph No. 5: This answering defendant lacks sufficient
  6   information or knowledge to form a belief about the truth of this allegation.
  7         6.     Paragraph No. 6: Admit.
  8         7.     Paragraph No. 7: Admit.
  9         8.     Paragraph No. 8: This answering defendant lacks sufficient
 10   information or knowledge to form a belief about the truth of these allegations.
 11         9.     Paragraph No. 9: As to this answering defendant, admit.
 12         10.    Paragraph No. 10: This answering defendant admits that at all
 13   relevant time he was acting within the course and scope of his employment as a
 14   Sheriff deputy and under color of state law, and as an employee of the County.
 15   Deny as to the remaining allegations.
 16         11.    Paragraph No. 11: This answering defendant lacks sufficient
 17   information or knowledge to form a belief about the truth of these allegations.
 18         12.    Paragraph No. 12: This paragraph contains no substantive or specific
 19   factual allegations and requires no affirmative admission or denial.
 20         13.    Paragraph No. 13: As to this answering defendant, deny.
 21         14.    Paragraph No. 14: As to this answering defendant, deny.
 22         15.    Paragraph No. 15: Admit.
 23         16.    Paragraph No. 16: Admit.
 24         17.    Paragraph No. 17: This answering defendant lacks sufficient
 25   information or knowledge to form a belief about the truth of these allegations.
 26         18.    Paragraph No. 18: This answering defendant admits he stopped his
 27   vehicle behind and to the side of the pickup truck and trailer and then exited his
 28   vehicle. This answering defendant denies that he stood on a mound of dirt.
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  1          19.    Paragraph No. 19: Deny.
  2          20.    Paragraph No. 20: This answering defendant admits that the pickup
  3   truck and trailer stopped rolling backwards without contacting anyone after
  4   Deputy Zaborowski fired her weapon.
  5          21.    Paragraph No. 21: This answering defendant admits Deputy
  6   Zaborowski fired her service pistol two times at the truck. This answering
  7   defendant denies that Deputy Zaborowski hit decedent.
  8          22.    Paragraph No. 22: This answering defendant admits that after Deputy
  9   Zaborowski fired at the pickup truck, decedent exited the truck, faced the deputies
 10   with his hands down, and then began to run away after this answering defendant
 11   fired his service pistol.
 12          23.    Paragraph No. 23: This answering defendant admits he fired his
 13   service pistol at decedent Robles before Robles began to run away.
 14          24.    Paragraph No. 24: This answering defendant denies he was involved
 15   in setting up a perimeter or conducting a search for decedent Robles and his
 16   accessory and,thus, lacks sufficient information or knowledge to form a belief
 17   about the truth of the remaining allegations.
 18          25.    Paragraph No. 25: This answering defendant denies he was involved
 19   in conducting a search for decedent Robles and his accessory and, thus, lacks
 20   sufficient information or knowledge to form a belief about the truth of the
 21   remaining allegations.
 22          26.    Paragraph No. 26: This answering defendant denies he was involved
 23   in conducting a search for decedent Robles and his accessory and, thus, lacks
 24   sufficient information or knowledge to form a belief about the truth of the
 25   remaining allegations.
 26          27.    Paragraph No. 27: This answering defendant lacks sufficient
 27   information or knowledge to form a belief about the truth of these allegations.
 28   ///
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  1         28.    Paragraph No. 28: This answering defendant lacks sufficient
  2   information or knowledge to form a belief about the truth of these allegations.
  3         29.    Paragraph No. 29: This answering defendant lacks sufficient
  4   information or knowledge to form a belief about the truth of these allegations.
  5         30.    Paragraph No. 30: This answering defendant lacks sufficient
  6   information or knowledge to form a belief about the truth of these allegations.
  7         31.    Paragraph No. 31: Deny.
  8         32.    Paragraph No. 32: This answering defendant denies that he
  9   deliberately ignored decedent’s physical condition, location, or need for medical
 10   care. This answering defendant lacks sufficient information or knowledge to form
 11   a belief about the truth of the remaining allegations.
 12         33.    Paragraph No. 33: As to this answering defendant, admit.
 13         34.    Paragraph No. 34: Deny.
 14         35.    Paragraph No. 35: This answering defendant lacks sufficient
 15   information or knowledge to form a belief about the truth of these allegations.
 16         36.    Paragraph No. 36: This paragraph contains no substantive or specific
 17   factual allegations and requires no affirmative response. Despite this, this
 18   answering defendant reasserts its responses to Paragraph Nos. 1 – 35 by reference
 19   and incorporate the same into each cause of action herein.
 20         37.    Paragraph No. 37: This answering defendant lacks sufficient
 21   information or knowledge to form a belief about the truth of these allegations.
 22         38.    Paragraph No. 38: This answering defendant lacks sufficient
 23   information or knowledge to form a belief about the truth of these allegations.
 24         39.    Paragraph Nos. 39 - 40: Deny.
 25         40.    Paragraph No. 41: This answering defendant lacks sufficient
 26   information or knowledge to form a belief about the truth of these allegations.
 27         41.    Paragraph No. 42: This answering defendant lacks sufficient
 28   information or knowledge to form a belief about the truth of these allegations.
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  1         42.    Paragraph No. 43: This answering defendant lacks sufficient
  2   information or knowledge to form a belief about the truth of these allegations.
  3         43.    Paragraph Nos. 44 - 47: Deny.
  4         44.     Paragraph No. 48: This answering defendant lacks sufficient
  5   information or knowledge to form a belief about the truth of these allegations.
  6         45.    Paragraph Nos. 49 - 51: Deny.
  7         46.    Paragraph No. 52: This paragraph contains no substantive or specific
  8   factual allegation and requires no affirmative admission or denial.
  9         47.    Paragraph Nos. 53 - 57: Deny.
 10         48.    Paragraph Nos. 58 - 59: These paragraphs contain a statement of law
 11   and require no affirmative admission or denial.
 12         49.    Paragraph Nos. 60 - 61: Deny
 13         50.    Paragraph No. 62: This paragraph contains no substantive or specific
 14   factual allegation and requires no affirmative admission or denial. If an affirmative
 15   response is required, deny.
 16         51.    Paragraph No. 63: This answering defendant lacks sufficient
 17   information or knowledge to form a belief about the truth of these allegations. If
 18   an affirmative response is required, deny.
 19         52.    Paragraph No. 64: This answering defendant lacks sufficient
 20   information or knowledge to form a belief about the truth of these allegations.
 21         53.    Paragraph No. 65: This answering defendant lacks sufficient
 22   information or knowledge to form a belief about the truth of these allegations.
 23         54.    Paragraph No. 66: This paragraph contains a statement of law and
 24   requires no affirmative admission or denial.
 25         55.    Paragraph Nos. 67 - 72: Deny.
 26         56.    Paragraph No. 73: This paragraph contains a statement of law and
 27   requires no affirmative admission or denial.
 28         57.    Paragraph Nos. 74 - 77: Deny.
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  1         58.    Paragraph No. 78: This answering defendant lacks sufficient
  2   information or knowledge to form a belief about the truth of these allegations.
  3                             AFFIRMATIVE DEFENSES
  4         As separate and distinct affirmative defenses to each cause of action therein,
  5   Defendant Deputy Ryan Hansen asserts the following:
  6                                             1.
  7                            FIRST AFFIRMATIVE DEFENSE
  8         The FAC fails to state a claim against this answering defendant upon which
  9   relief may be granted.
 10                                             2.
 11                         SECOND AFFIRMATIVE DEFENSE
 12         This answering defendant alleges that decedent Rico Robles failed to
 13   exercise ordinary care on his own behalf under the circumstances alleged in the
 14   FAC. Any and all events and happenings in connection with the alleged
 15   occurrences and the resulting injuries and damages, if any, were proximately
 16   caused and contributed to by the negligence of decedent.
 17         As a result, plaintiff’s right to recover from this answering defendant should
 18   be diminished in an amount, established by proof at trial, which is in direct
 19   proportion to decedent’s failure to exercise due care.
 20                                             3.
 21                            THIRD AFFIRMATIVE DEFENSE
 22         This answering defendant is informed and believes, and thereon alleges, that
 23   the injuries suffered by decedent and plaintiff, if any, were the actual and
 24   proximate result of the conduct of others and this answering defendant's liability,
 25   if any, is limited in direct proportion to the percentage of fault actually attributed
 26   to this answering defendant.
 27   ///
 28   ///
                                                 6
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  1                                              4.
  2                           FOURTH AFFIRMATIVE DEFENSE
  3            This answering defendant alleges that decedent failed to mitigate his
  4   damages by failing to seek medical treatment after he was injured. This
  5   answering defendant further alleges that plaintiff’s claims are barred or limited to
  6   the extent plaintiff failed to mitigate her injuries or damages, if any.
  7                                              5.
  8                            FIFTH AFFIRMATIVE DEFENSE
  9            This answering defendant alleges that each and every act or omission of this
 10   answering defendant was made or done in good faith and in the reasonable belief
 11   in the necessity or propriety of such act or omission for the proper execution and
 12   enforcement of the law.
 13                                              6.
 14                            SIXTH AFFIRMATIVE DEFENSE
 15            This answering defendant is informed and believes, and thereon alleges, the
 16   injuries which plaintiff allegedly sustained were brought about by intervening,
 17   independent, superseding, and/or unforeseeable causes over which defendant had
 18   no control and for which this answering defendant cannot be held liable.
 19                                              7.
 20                          SEVENTH AFFIRMATIVE DEFENSE
 21            This answering defendant alleges that at the time and place referenced in the
 22   FAC, and before such described events, plaintiff knew, appreciated, and
 23   understood each and every risk involved in placing himself in the position where
 24   he willingly and voluntarily assumed each of said risks, including, but not limited
 25   to, the risk of suffering personal bodily injury, lawful deprivation of right(s), or
 26   death.
 27   ///
 28   ///
                                                  7
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  1                                             8.
  2                         EIGHTH AFFIRMATIVE DEFENSE
  3         This answering defendant is immune from liability under 42 U.S.C. section
  4   1983 under the doctrine of qualified immunity.
  5                                             9.
  6                         NINTH AFFIRMATIVE DEFENSE
  7         This answering defendant is immune from liability under Government
  8   Code section 820.4 for the execution or enforcement of any law.
  9                                             10.
 10                         TENTH AFFIRMATIVE DEFENSE
 11         This answering defendant is immune from liability under Government
 12   Code section 821.6 for instituting or prosecuting any judicial or administrative
 13   proceeding, including the investigation that may precede the institution of any
 14   such proceeding, within scope of employment, even if malicious and without
 15   probable cause.
 16                                             11.
 17                       ELEVENTH AFFIRMATIVE DEFENSE
 18         This answering defendant is immune from liability under Government
 19   Code section 820.2’s discretionary immunity.
 20                                             12.
 21                       TWELVTH AFFIRMATIVE DEFENSE
 22         This answering defendant currently has insufficient knowledge or
 23   information upon which to determine whether additional affirmative defenses may
 24   be available to it which have not yet been asserted in this answer, and therefore
 25   reserve the right to assert additional affirmative defenses upon subsequent
 26   discovery, investigation, and analysis.
 27   ///
 28   ///
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  1                                       PRAYER
  2         WHEREFORE, defendant Deputy Ryan Hansen prays that judgment be
  3   entered in its favor as follows:
  4         1.     That plaintiff takes nothing by way of her First Amended Complaint;
  5         2.     That defendant Deputy Ryan Hansen be awarded his costs of suit and
  6   reasonable attorneys' fees herein; and
  7         3.     That defendant Deputy Ryan Hansen recovers such other and further
  8   relief as the court deems proper.
  9   Dated: June 29, 2021                         Dean Gazzo Roistacher LLP
 10
 11                                            By: /s/ Stephanie M. Skees
                                                   Mitchell D. Dean
 12
                                                   Stephanie M. Skees
 13                                                Attorneys for Defendant
                                                   Deputy Hansen
 14
                                                   E-mail: mdean@deangazzo.com;
 15                                                sskees@deangazzo.com
 16                            DEMAND FOR JURY TRIAL
 17         Defendant Deputy Ryan Hansen hereby demands a trial by jury.
 18
 19   Dated: June 29, 2021                         Dean Gazzo Roistacher LLP

 20
 21                                            By: /s/ Stephanie M. Skees
                                                   Mitchell D. Dean
 22                                                Stephanie M. Skees
 23                                                Attorneys for Defendant
                                                   Deputy Hansen
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